Case 2:24-cv-00267-LEW Document1 Filed 07/25/24 Pageliof6 PagelD#:1

=> *Pro Se 15 (Rev, 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

)
.

U.S. DIST N s
sot iivi
UNITED STATES DiSTRICTCOURT
for the | oe
oor 4
_ United States qn Distéidt oft ? \: 01
Portland, Maine Division —s
ary Gee
Ashley A. Lenartson ~ ee
Sy ae ) Case No.
) (to be filled in by the Clerk’s Office)
Plaintiffis)
(Write the full name of each plaintiff who is filing this complaint. 44

If the names of all the plaintiffs cannot fit in the space above, ) Jury Trial: (check one) Yes [_]No
please write “see attached” in the space and attach an additional )
page with the full list of names.) )
-V- )
The Supreme Judicial Court of Portland, Maine
Carol Anne Silvius, Helen M. Hall, Andrea Turner, )
Grant Whelan, Judge Deborah Cashman, The State of )

Maina

Defendant(s) )
(Write the full name of each defendant who is being sued. If the )
names of all the defendants cannot fit in the space above, please )

write “see attached” in the space and attach an additional page
with the full list ofnames. Do not include addresses here.)

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Non-Prisoner Complaint)

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should vot contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

Page | of 6
Case 2:24-cv-00267-LEW Document1 Filed 07/25/24 Page 2of6 PagelD#: 2

I. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.

Name
Address

County
Telephone Number
E-Mail Address

B. The Defendant(s)

Ashley A. Lenartson

510 Cumberland Avenue 311

Portland ME 04101
City State Zip Code

Cumberland County

207-252-3337Cell, 207-331-4207 Google

ashleylenartson@gmail.com

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (if known) and check whether you are bringing this complaint against
them in their individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. |

Name
Job or Title (ifknown)
Address

County
Telephone Number
E-Mail Address (ifknown)

Defendant No. 2
Natne
Job or Title fifknown)
Address

County
Telephone Number
E-Mail Address (if known)

Grant Whelan

Assistant District Attorney

142 Federal St Ste 5 04101 United States

Portiand ME 04101
City State Zip Code

Cumberland County

(207) 871-8380
districtattorney@cumberlandcounty.org

[| Individual capacity Official capacity

Carol Anne Silvius
50 Pembroke Street Apt 1

Portland ME 04103
City State Zip Code

Cumberland County
207-774-7509
12carasil@gmail.com

Individual capacity [| Official capacity

Page 2 of 6
Pro S¢ 15 (Rey, 12/16) Complaint for Violation of Civil Ri

Case 2:24-cv-00267-LEW Document1 Filed 07/25/24 Page3of6 PagelD#: 3

if.

Defendant No. 3

hts (Non—Prisoner

Name Helen M. Hall

Job or Title (known) Unemployed

Address 29 Presumpscot Street 3 __
Portland ME 04101

City Ei

County Cumberland Avenue ma a

Telephone Number N/A

E-Mail Address (ifknown) N/A

Defendant No. 4

Individual capacity

[] Official capacity

Name Andrea Turner
Job or Title (ifknown) Unemployed
Address 87 Pembroke Street #4
Portland ME 04103
City State Zip Code

County Cumberland County
Telephone Number N/A
E-Mail Address (if known) N/A
Individual capacity [] Official capacity

Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A.

Are you bringing suit against (check all that apply):
[ | Federal officials (a Bivens claim)
State or local officials (a § 1983 claim)

Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?
I'm brining this suit against the Portland, Maine Courts and the Defendants because my ist & 4th
Amendment Rights and Rights to be myself (Gay Man) are being denied by the courts: | called Grant
Whelan shortly after going to court and he REFUSED to listen to me and called me a Criminal and
acted like | had "No Rights" on account of going to the Supreme Court of Portland, Maine with NO

RESPRESENTATION as Carol Anne Si iminal telling people that she “wants to go 53.

Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal

officials?

Page 3 of 6
Case 2:24-cv-00267-LEW Document1 Filed 07/25/24 Page4of6 PagelD#: 4

Pro Se 15 (Rev, 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)

il.

Amendment 1, Amendment 4, Amendment 6, Amendment 7, Amendment 8, Amendment 9,
Amendment 10

D. Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.

I've already explained what happened earlier in this complaint, et. al. | have nothing to hide. I've already
been embarrassed and put thru the coals, etc, as a Sacrificial Victim, etc. That's not my thing:
apparently, it is the Courts, Helen and Andrea and everybody else involved with this case.

Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A. Where did the events giving rise to your claim(s) occur?

June 3, 2020 when Covid began @ Washington Gardens here in Portland, Maine. Helen was the one
who said, "Ashley go on and get out of here." Then she said, "Go on and get the f out of here.” | lost it at
the word fas | don't like being spoken down to: do you???

B. ~ What date and approximate time did the events giving rise to your claim(s) occur?
3:00PM
C. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?

Was anyone else involved? Who else saw what happened?)

| was unessesarily detained by Helen M. Hall, Andrea Turner at Washington Gardens for a crime that
isn't my fault and never will be. A witness to this who fiasco is Fran. She's a pathological liar. She was
too far away to see what happened and she doesn't like me because I'm outspoken. | can't trust her on
account of the fact that she's one of Helen's friends for life, etc. They all sit outside like beached whales
every day thinking about who they can stir up and make trouble for, etc.

Page 4 of 6
Case 2:24-cv-00267-LEW Document1 Filed 07/25/24 Page5of6 PagelD#:5

Pro Se 15 (Rey, 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

IV.

Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

| never received any injuries on account of what happened. Helen claimed that | tried to "strangle her" but she's a
pathological liar who refused to go to the Hospital to be checked out as | never had any intention of ruining her
day: this is a woman who has to be right all the time as she's a Narcissist and so is Andrea Turner. Andrea could
have stopped the whole argument which makes her “complicit” in committing a crime that day. | don't wish any ill
will on either party but they're just "homo haters" and they'll never tell you that but that's what their problem is. If
Helen had sustained injuries that day | would have gone to jail. The Police never arrested me. They should have
let me fill out the Police Report on account of the fact that they knew that Helen and Andrea where lying that day,
not me. | have no reason to lie about this incident. It's not my fault. I'm the aggrieved party here, not them. Right
after the incident happened Helen went to tell Lisa Dixon about what had happened and Lisa wasn't buying into
her lies that day because Lisa is a good friend of mine. Lisa's address is 200 Sherwood Street Apt 2 Portland,
ME 04103. It's impossible to "strangle" an evil woman by the name of Helen Hall who is setting me up to do
something that I'd never do in a million years: Helen came up to me because | refused to leave the situation she
created and put her right hand on my chest and my hands went up in the air. We started arguing again and then
she says fo me towards the end of the argument, "Go ahead Ashley, put your hands around my neck and
strangle me." She said it twice. How am | supposed to be able to think straight as | can't think straight. She's at
fault, not me. Andrea is at fault for being complicit in what happened that day as she could have said,"Helen and
Ashley, stop arguing with each other." But, did she??? No! No! No!

Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

| want to be awarded for my Pain & Suffering caused by all parties involved. | can't be held to a higher standard
but Helen M. Hall, Andrea Turner & Carol Anne Silvius can be on account of their behavior that day. So can
Grant Whelan and his turncoat assistant ???. Why should | be forced to pay a 300 fine for something that's not
my fault??? Makes no sense to me. Carol Anne Silvius was supposed to prepare me for court: she did not bother
to do that. And, this is somebody who helps people through Homeless Voices For Justice, etc. She's not a
human being. She's a pathological liar who brings people up then drops them down to her level of disrespect.

Page 5 of 6
Case 2:24-cv-00267-LEW Document1 Filed 07/25/24 Page6of6 PagelD#: 6

Pro Se 15 (Rev, 12/16) Complaint for Violation of Civil Rights (Non—Prisoner) _

VI.

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable

opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

1 agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: 07/18/2024

Signature of Plaintiff Ashley A. Lenartson

Printed Name of Plaintiff Ashley A, Lenartson

B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney
Bar Number

Name of Law Firm
Address

City State Zip Code
Telephone Number
E-mail Address

Page 6 of 6
